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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

 

ALEXANDRIA DIVISION
ROBERT DOOLITTLE, CIVIL ACTION NO. 1:20-CV-00390
Plaintiff
VERSUS JUDGE DRELL
PHILLIP DEES, ET AL., MAGISTRATE JUDGE PEREZ-MONTES
Defendants
JUDGMENT

For the reasons contained in the Report and Recommendation of the
Magistrate Judge previously filed herein, noting the absence of objections thereto,
and concurring with the Magistrate Judge’s findings under the applicable law;

IT IS ORDERED that Progressive’s Motion to Remand (ECF No. 15) is
GRANTED.

IT IS FURTHER ORDERED that this case be REMANDED to the Ninth
Judicial District Court for the Parish of Rapides, State of Louisiana.

THUS ORDERED AND SIGNED in Chambers in Alexandria, Louisiana on

this Ch "S

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day of November, 2020.
DEE D. DRELL, JUDGE >
UNITED STATES DISTRICT COURT

 
